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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                   §
In re:                                                             §   Chapter 11
                                                                   §
IHEARTMEDIA, INC., et al., 1                                       §   Case No. 18-31274 (MI)
                                                                   §
                           Debtors.                                §   (Jointly Administered)
                                                                   §
                                                                   §   Re: Docket Nos. 519, 632

                   REPLY OF THE OFFICIAL COMMITTEE OF
         UNSECURED CREDITORS OF IHEARTMEDIA, INC., ET AL. TO THE
        OBJECTION OF THE TERM LOAN/PGN GROUP TO THE APPLICATION
    OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR ENTRY OF
       AN ORDER AUTHORIZING THE COMMITTEE TO RETAIN AND EMPLOY
     JEFFERIES LLC AS INVESTMENT BANKER PURSUANT TO 11 U.S.C. §§ 328(A)
                AND 1103(A), NUNC PRO TUNC TO MARCH 30, 2018

         The Official Committee of Unsecured Creditors (the “Committee”) of iHeartMedia, Inc.

and its affiliated debtors and debtors in possession (collectively, the “Debtors”) submits this

reply (the “Reply”) to the Objection of the Term Loan/PGN Group to the Application of the

Official Committee of Unsecured Creditors for Entry of an Order Authorizing the Committee to

Retain and Employ Jefferies LLC as Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and

1103(a), Nunc Pro Tunc to March 30, 2018 [Docket No. 632] (the “Objection”). 2 In support of

this Reply, the Committee respectfully represents as follows:




1
 Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
noticing agent at https://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia, Inc.’s principal
place of business and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio, Texas 78258.
2 On April 19, 2018, the Committee filed the Application of the Official Committee of Unsecured Creditors for
Entry of an Order Authorizing the Committee to Retain and Employ Jefferies LLC as Investment Banker Pursuant to
11 U.S.C. §§ 328(a) and 1103(a), Nunc Pro Tunc to March 30, 2018 [Docket No. 519] (the “Jefferies Application”).
Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to such terms in the
Jefferies Application or the Objection, as applicable.
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                                     PRELIMINARY STATEMENT

        1.       By the Objection, the Term Loan/PGN Group 3 opposes the Committee’s retention

of Jefferies as its investment banker asserting that (i) Jefferies’s services are not necessary and

(ii) the Committee has not established that Jefferies’s proposed fees are reasonable. Both of

these contentions are misguided and inaccurate. The Objection should be seen for what it is—a

baseless attempt by the Term Loan/PGN Group to inhibit the Committee’s ability to carry out its

fiduciary duties in a blatant effort to further its own agenda. 4

        2.       As a threshold matter, the Committee is the single entity established by the

Bankruptcy Code with a fiduciary duty to protect the interests of all of the Debtors’ unsecured

creditors and is permitted to fulfill its mandate according to its business judgment.

        3.       In an attempt to characterize Jefferies as being “unnecessary,” the Term

Loan/PGN Group trumpets the existence of the RSA and perceived inevitable confirmation of

the Plan as the reason why the Committee does not require Jefferies’s services. However, the

RSA itself contemplates the ability of the Debtors to pursue alternative transactions and related

financings. Moreover, there are serious questions about the viability of both the RSA and the

Plan as currently drafted. Indeed, Committee counsel has advised Debtors’ counsel that the RSA




3 On May 29, 2018, conflicts counsel for the Term Loan/PGN Group filed the Amended Verified Statement of
Loewinsohn Flegle Deary Simon LLP Pursuant to Bankruptcy Rule 2019 [Docket No. 843] (the “2019 Statement”),
which disclosed that the members of the Term Loan/PGN Group held, as of April 6, 2018, in the aggregate,
$2,432,363,740.84 of outstanding principal amount of Term Loans and $3,269,203,000.00 of outstanding principal
amount of PGNs. Such amounts represent approximately 38.6% of outstanding Term Loans, 48.4% of outstanding
PGNs, and approximately 42.5% of the Debtors’ Term Loans and PGNs in the aggregate. There is no disclosure in
the 2019 Statement explaining why the Term Loan/PGN Group’s holdings information is not as of the date
Loewinsohn Flegle Deary Simon LLP was employed or why such information is not more current.
4 For example, counsel for the Term Loan/PGN Group advised Committee counsel that if the Committee adjourned
the hearing on the Jefferies Application and successfully objected to the Debtors’ proposed retention of Moelis, as
investment banker, and reduced Moelis’s fees to an amount acceptable to the Term Loan/PGN Group, the Term
Loan/PGN Group would consider not objecting to Jefferies’s retention. The Committee immediately dismissed the
Term Loan/PGN Group’s unsavory suggestion.

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may be void as an unenforceable post-petition agreement and that there are serious issues about

the confirmability of the Plan, in its current form. 5

        4.       Yet, even if the Plan on file is modified in a manner consistent with the

Bankruptcy Code, the Debtors are pursuing numerous initiatives in connection therewith which

the Committee requires the services of an investment banker to evaluate thoroughly. These

initiatives include, among others, the following: (a) seeking approval of debtor in possession

financing; (b) seeking third party financing of up to $5.75 billion in lieu of providing certain

creditors with “take back debt” under the Plan; and (c) seeking third party equity investments in

the reorganized Debtors.          There can be no serious debate that the Committee requires the

services of an investment banker to assist the Committee in evaluating each of the foregoing

transactions, the Debtors’ business plan and valuation issues flowing therefrom. Similarly, the

Committee is analyzing potential claims in respect of the Term Loans and PGNs and will require

Jefferies’s services in connection with, among other things, the foregoing analysis and any

potential actions to avoid, as constructively fraudulent, claims and liens with respect to certain

Term Loans and/or PGNs. Thus, the notion that Jefferies is not required to perform any services

to earn its fees is unwarranted and false.

        5.       Additionally, the Committee engaged in a reasoned selection process in deciding

to retain both a financial advisor (FTI Consulting, Inc. (“FTI”)) and an investment banker and

has clearly delineated the separate and distinct services that such professionals will have in these



5 The Plan’s most glaring flaw is the absence of proposed treatment for unsecured creditors while providing a
recovery to the Debtors’ existing sponsors who also hold Term Loans or PGNs. Among other fundamental
problems with the Plan are (i) the proposed disparate treatment of similarly situated creditors, (ii) the absence of
treatment of intercompany claims, (iii) allowance of claims that are avoidable as constructively fraudulent, if not
actually fraudulent and (iv) unjustifiably broad releases for insiders for which they have provided no consideration.
Surprisingly, the terms of the Plan were “agreed to” by the Debtors’ board of directors prior to any substantive
investigation into potential claims against the Debtors’ insiders and also before the Debtors had prepared the 5-year
business plan upon which the Plan is premised.

                                                         3
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cases.    As described in the Horwitz Declaration (annexed as Exhibit D to the Jefferies

Application), the Committee’s decision to retain both a financial advisor and an investment

banker was not taken lightly. The Committee is mindful of the significant costs borne by the

Debtors’ estates with respect to professional fees and chose to retain Jefferies only after it

determined that Jefferies’s services were necessary for the Committee to acquit its fiduciary

duties to unsecured creditors. Indeed, the distinction between Jefferies’s and FTI’s services is

clear; and there has not been, and will not be, unnecessary overlap in the scope of services to be

performed.

         6.    Finally, the Committee submits that Jefferies’s proposed fees are market and

appropriate for large, complex chapter 11 cases such as these.            Importantly, the Jefferies

Application and Jefferies’s proposed fee structure has not drawn an objection from the Debtors,

the U.S. Trustee or any other stakeholder.

         7.    For the foregoing reasons and those set forth below, the Committee respectfully

requests that the Court overrule the Objection and approve the Jefferies Application.

                                              REPLY

A.       The Committee Has Exercised Its Business Judgment in Retaining Jefferies as its
         Advisor

         8. The law is well-settled that an official committee has fiduciary obligations to

safeguard and advance the interests of all unsecured creditors and, in doing so, must take actions

in furtherance of those actions. See Mirant Americas Energy Mktg., L.P. v. Official Comm. of

Unsecured Creditors of Enron Corp., 2003 WL 22327118, at *4 (S.D.N.Y. Oct. 10, 2003)

(affirming lower court’s decision not to appoint separate committee for certain debtors reasoning

in part that an official committee has a fiduciary obligation to its entire constituency); see also In

re Bohack Corp., 607 F.2d 258, 262 n. 4 (2d Cir. 1979); In re Venturelink Holdings, Inc., 299

                                                  4
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B.R. 420, 423 (Bankr. N.D. Tex. 2003) (noting that members of official committees owe a

fiduciary duty to all unsecured creditors); In re Enron Corp. Securities Derivative, & “ERISA”

Litigation, 2003 WL 22319078, at *3 (S.D. Tex. May 29, 2003) (unlike examiners, “the

Creditors’ Committee owes a fiduciary duty to the creditors”).                   Here, the Committee has

determined that in order to acquit its duties it requires the aid of an investment banker. While the

Term Loan/PGN Group contends in a conclusory fashion that the Committee does not require the

services to be provided by Jefferies, the chapter 11 process does not allow the Term Loan/PGN

Group or its members to supplant its business judgment for the Committee’s, nor does it permit

such creditors to dictate what type of professionals the Committee should retain in order for the

Committee to satisfy its fiduciary duties. Instead, such decisions are for the Committee to decide

(subject to this Court’s approval). 6 The Horwitz Declaration describes in detail the Committee’s

need to retain an investment banker, the selection of Jefferies and its careful consideration of the

associated costs and benefits.

B.      The Services to be Performed by Jefferies are Necessary for the Committee to
        Acquit its Fiduciary Duties

        9.       The Objection presents confirmation of the Plan premised on the RSA as a

foregone conclusion and from that starting point that the Committee’s role in these chapter 11

cases should be curtailed. The Objection further posits that because the Debtors’ creditors and

the Debtors’ equity sponsors that entered into the RSA already are represented by advisors, the

Committee does not require the services of an investment banker. The Term Loan/PGN Group

does not rely on case law in support of its propositions, nor could it, because its protestations are


6 See Exco Resources, Inc. v. Milbank, Tweed, Hadley & McCloy LLP (In re Enron), 2003 WL 223455, at *4
(S.D.N.Y. 2003) (providing that a committee’s decision to employ a professional under 1103 should be given
deference); see also 11 U.S.C. § 1103(a) (“with the court's approval, such committee may select and authorize the
employment by such committee of one or more attorneys, accountants, or other agents, to represent or perform
services for such committee”).

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antithetical to the Bankruptcy Code’s clear mandate with respect to the appointment of a

creditors’ committee and the delineation of its duties. See Mirant Americas Energy Mktg., L.P.

v. Official Comm. of Unsecured Creditors of Enron Corp., 2003 WL 22327118, at *4. In

performing its duties, a creditors’ committee “must guide its actions so as to safeguard as much

as possible the rights of minority as well as majority creditors.” See In re Bohack Corp., 607

F.2d at 262 n. 4.

        10.      Unmentioned in the Objection is that the RSA affords the Debtors significant

flexibility to pursue alternative transactions. As the Court is aware, the Debtors received a

restructuring proposal from Liberty Media Corporation and Sirius XM Holdings Inc. prior to the

Petition Date and the Debtors continue to take actions, such as seeking to retain both Moelis and

LionTree Advisors LLC, to pursue such alternative transactions. 7 In point of fact, the Debtors,

in support of the foregoing retentions, recently stated that the RSA specifically contemplates

conducting a marketing process for an alternative transaction with the objective of potentially

unlocking value incremental to the value in the standalone scenario. 8 The Objection glaringly

ignores that the Committee will be required to assess the Debtors’ alternative transaction process

and value any potential alternative transactions.

        11.      Moreover, the Term Loan/PGN Group’s position with respect to the RSA also is

untenable because the Debtors entered into the RSA on March 16, 2018—after filing these

chapter 11 cases—without qualification that it was subject to the approval of this Court under


7 On May 9, 2018, during its quarterly earnings call, Greg Maffei, the President and CEO of Liberty Media
Corporation, reaffirmed Liberty’s interest in the Debtors and stated that he expected the Debtors would re-engage
with Liberty at some point. See Liberty Media Corporation, “Q1 2018 Liberty Media Corp Earnings Conference
Call,” available at http://ir.libertymedia.com/events-and-presentations/events.
8See Joint Reply of the Debtors, Moelis & Company LLC, and LionTree Advisors LLC in Support of the Debtors’
Applications Authorizing and Approving the Employment and Retention of Moelis & Company LLC as Investment
Banker and LionTree Advisors LLC as Special Financial Advisor Nunc Pro Tunc to the Petition Date [Docket No.
783].

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Bankruptcy Code section 363. 9 As a result, entry into the RSA appears to be an unauthorized

postpetition transaction and may be void or voidable as a matter of law. These facts, combined

with, among other things, (a) the undetermined treatment of general unsecured creditors, (b) the

absence of a business plan as foundation for the RSA or Plan, (c) the lack of a published

valuation for the Debtors (individually or in the aggregate), (d) the Debtors’ intention to seek

billions of dollars in debt and equity financing, and (e) the Committee’s ongoing analysis of

potential claims and causes of action with respect to the Term Loans and/or PGNs, support the

Committee’s decision to retain an independent investment banker. 10

         12.      Indeed, as set forth in the Horwitz Declaration, the Committee determined that an

independent investment banker was required to assess and, if necessary, provide expert

testimony, as needed, with respect to the foregoing issues as well as (a) the current state of the

“restructuring market,” (b) the relevant valuations, recoveries, evaluation and negotiation of the

proposed or alternative plans of reorganization, and (c) other potential alternatives for the

Debtors. Jefferies also will assist the Committee in connection with negotiations with other

stakeholders (including the Debtors and the Term Loan/PGN Group) and their respective

advisors regarding the terms of a confirmable chapter 11 plan, assuming such parties are


9 See In re Residential Capital, LLC, No. 12-12020, 2013 WL 3286198, at *19 (Bankr. S.D.N.Y. June 27, 2013)
(applying Bankruptcy Code section 363(b) when considering and authorizing the debtors’ entry into a postpetition
plan support agreement); see also Medical Malpractice Ins. Ass’n. v. Hirsch (In re Lavigne), 183 B.R. 65, 69
(Bankr. S.D.N.Y. 1995) (“Although section 363 is meant to facilitate a debtor's reorganization by allowing it to
make decisions in the ordinary course of business, an extraordinary transaction undertaken by the debtor or trustee
without notice and a hearing is unenforceable.”) (citing In re The Leslie Fay Cos., Inc., 168 B.R. 294 (Bankr.
S.D.N.Y. 1994).
10 The Term Loan/PGN Group places significant weight on the fact that “holders of Term Loans and PGNs are
already well represented with counsel and financial advisors.” See Objection ¶ 5. This is irrelevant. In contrast to
ad hoc groups and their advisors, a creditors’ committee stands as a fiduciary to the class of creditors it represents,
and professionals retained by a creditors’ committee owe fiduciary duties to the committee. See, e.g., Woods v.
Nat’l City Bank, 312 U.S. 262, 269 (1941); In re Caldor, Inc., 193 B.R. 165, 169-70 (Bankr. S.D.N.Y. 1996); 11
U.S.C. § 1103(b) (professionals “employed to represent a committee appointed under section 1102 of this title may
not, while employed by such committee, represent any other entity having an adverse interest in connection with the
case.”).

                                                          7
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prepared to engage in good faith negotiations, which has not been evident to date. In light of the

foregoing, among other reasons, the Term Loan/PGN Group’s suggestion that the Committee can

rely on the financial advisors retained by various ad hoc groups in connection with these chapter

11 cases rings hollow. 11 As a fiduciary to all unsecured creditors, the Committee’s retention of

an investment banker to consider the interests of all unsecured creditors is necessary and cannot

be supplanted with the advice of financial advisors tasked with looking out for individual

creditor constituencies’ pecuniary and self-serving interests.

           13.      In sum, the Committee has fiduciary obligations to all unsecured creditors and

Jefferies’s services are necessary for the Committee to fulfill those duties.

C.         Jefferies and FTI are Performing Separate and Distinct Duties

           14.      Despite the Term Loan/PGN Group’s statements to the contrary, the Committee

has stated why it requires the services of both Jefferies and FTI clearly and succinctly. In

particular, the Committee focused on ensuring the investment banking services to be provided by

Jefferies will provide material and tangible benefits to the Committee in fulfilling its fiduciary

duties to all unsecured creditors without duplication of FTI’s or any other professional’s

efforts. 12

           15.      As set forth in detail in the Jefferies Application and discussed in the Horwitz

Declaration, Jefferies, as investment banker, is responsible for assisting and advising the

Committee on any potential or proposed restructuring or other transaction, including the


11 The  Term Loan/PGN Group points to the financial advisor, GLC Advisors, retained by an ad hoc group of holders
of 14% Senior Notes due 2021 (the “2021 Group”) in arguing that the Committee’s retention of an investment
banker is unnecessary. See Objection ¶ 5. As reflected in the First Amended Verified Statement of Gibson, Dunn &
Crutcher LLP and Porter Hedges LLP Pursuant to Federal Rule of Bankruptcy Procedure 2019 [Docket No. 372],
the members of the 2021 Group hold significant positions in the Term Loans (approximately $140 million) and
PGNs (approximately $340 million) and have interests that conflict, at least in part, with unsecured creditors, and do
not act as fiduciaries to the Debtors’ unsecured creditors.
12   See Jefferies Application ¶ 10; Horwitz Declaration ¶¶ 13-16.

                                                           8
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implementation and negotiation thereof. Jefferies has and will continue to provide independent

analysis of the proposals and alternatives available to the Debtors as they restructure their

businesses and related support including valuation analysis and expert testimony, as needed. As

noted in the Horwitz Declaration, “Jefferies is tasked with advising the Committee on the

strategic elements of the Debtors’ reorganization (including relevant valuations, viability,

recoveries and evaluation of proposed or alternative plans of reorganization), as well as financing

alternatives for the Debtors.” Horwitz Declaration ¶ 15.

           16.      In contrast, FTI’s primary responsibility is to review and analyze the financial

aspects of the Debtors’ complex day-to-day businesses and the administration of these chapter 11

cases. This role is complementary, but in no way duplicative, of Jefferies’s role. As befits its

specific expertise and industry reputation, FTI’s focus has been on, among other things,

reviewing and analyzing financial disclosures and information, employee benefit programs,

assumption or rejection of executory contracts, tax issues, intercompany activities and claims,

liquidity and cash flow, and operating results.

           17.      The Objection overlooks the Committee’s thoughtful process in retaining both

Jefferies and FTI, and instead questions why FTI is not serving as both financial advisor and

investment banker. The Objection suggests that FTI already has begun providing services within

Jefferies’s scope of work (e.g., participating in meetings and evaluating the Debtors’ business). 13

This superficial and disingenuous statement ignores the different roles for which the Committee

retained Jefferies and FTI and the substantive work each has performed to date and will perform

in the future for the benefit of unsecured creditors in an attempt to show unreasonable

duplication where none exists.


13   See Objection ¶ 6.

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D.      The Transaction Fee is Reasonable, Appropriate and Market

        18.      The Objection states that the Term Loan/PGN Group “has concerns about the

reasonableness of the Transaction Fee” because “[t]he Transaction Fee does not appear to be tied

at all to any success Jefferies achieves or in any way to recoveries of the Committee’s

constituency.”     Objection ¶ 7. 14       First, as discussed above, the Committee’s constituency

comprises all of the Debtors’ unsecured creditors, including the members of the Term Loan/PGN

Group whose claims are largely unsecured, thus the vast majority of the Debtors’ capital

structure constitutes the “Committee’s constituency.” Second, the circumstances upon which

Jefferies earns the Transaction Fee and the amount thereof were negotiated heavily between the

Committee and Jefferies.

        19.      The Committee selected Jefferies as its investment banker after interviewing all of

the investment banking firms that were invited to present their qualifications to the Committee.

Thereafter, over a period of approximately one week, the Committee negotiated Jefferies’s fee

structure. The Jefferies fee structure comprises two components: (x) a monthly fee of $175,000

and (y) a bi-furcated Transaction Fee. With respect to the Transaction Fee, 50% (or $2.875

million) will be payable only if the Committee supports a chapter 11 plan that is consummated or

if the Committee files, but ultimately resolves, an objection to a chapter plan that is

consummated. The other 50% of the Transaction Fee would be payable upon a consummation of

a chapter 11 plan in these cases, regardless of the Committee’s support, in order to compensate

Jefferies appropriately for the services they would need to provide regardless of whether the


14 The Term Loan/PGN Group’s feigned concern regarding the extent of fees being incurred in these cases is belied
by the engagement terms of its professionals who presumably will be seek to be compensated in these cases by the
Debtors’ estates. Indeed, upon information and belief, the Term Loan/PGN Group will seek fees for PJT in excess
of $20 million and the group has entered into an engagement agreement with Jones Day pursuant to which the Term
Loan/PGN Group apparently has agreed to compel the Debtors to provide Jones Day with a yet to be determined
success fee.

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Committee supported a chapter 11 plan in these cases (i.e., performing the services outlined

herein and in the Jefferies Application). This dual pronged fee structure strikes the appropriate

balance of ensuring that the Committee receives material benefits from Jefferies’s services, while

being fair, reasonable, and market-based.

       20.     Indeed, at the time the Committee selected Jefferies as its investment banker, the

Debtors and Term Loan/PGN Group had yet to propose treatment for general unsecured creditors

under the RSA and at least one major unsecured funded debt constituency indicated that it was

not supportive of the transactions contemplated thereby. As such, the Committee recognized that

there was a need to incentivize its investment banker to facilitate a chapter 11 plan that the

Committee could support.

       21.     Further, because the RSA contemplated not just a simple debt for equity swap but,

rather, the potential for a complex alternative plan process and myriad potential financing

transactions for which the Committee would require Jefferies’s services, the Committee

determined that tying the Transaction Fee only to consummation of a chapter 11 plan supported

by the Committee would not be fair or reasonable to Jefferies or market-based. Accordingly,

after significant negotiation, the Committee and Jefferies agreed that the second half of the

Transaction Fee would not be tied to a Committee supported plan, but would compensate

Jefferies appropriately for the services they would need to provide regardless of whether the

Committee supported a chapter 11 plan in these cases. Thus, the Transaction Fee has been

structured in a manner that appropriately incentivizes Jefferies to assist the Committee in

achieving successful results for the Committee and its unsecured creditor constituency.

       22.     The Term Loan/PGN Group’s assertion that Jefferies’ proposed Transaction Fee

is unreasonable is not based on any review of market fees. Indeed, a review of eight comparable


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cases (summarized in the chart attached hereto as Exhibit A (the “Fee Structures Chart”))

demonstrates that the Transaction Fee clearly is reasonable. The Fee Structures Chart includes

chapter 11 cases filed on or after January 1, 2014, where the subject debtors had aggregate

funded debt obligations of approximately $5.125 billion or more and reflects, among other

things, the fees for each investment banker to the respective creditors’ committee in the

comparable cases. Notably, in each of the cases included on the Fee Structures Chart, the

respective creditors’ committee retained both an investment banker and a financial advisor. The

total fees incurred by the investment bankers for creditors’ committees in those comparable cases

range from $4.575 million to $16 million. 15 Jefferies’s projected fees of $7.85 million fall

squarely within this range. Similarly, when expressed as a percentage of the Debtors’ total

funded debt, Jefferies’s total projected fees are 0.05%, which is less than the 0.10% median in

comparable cases, and the Transaction Fee standing alone is 0.04%, which is less than the 0.07%

median in comparable cases. 16 In addition, the proposed crediting of 50% of monthly fees after

12 months is consistent with the crediting in comparable cases. In light of the foregoing, the

Committee respectfully submits that Jefferies’s proposed fee structure, including the Transaction

Fee, is reasonable and should be approved pursuant to Bankruptcy Code section 328.




15   The Fee Structures Chart assumes a twelve-month case duration.
16   As reflected in the Fee Structures Chart, the median is equal to the mean in the comparable cases.

                                                           12
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                                          CONCLUSION

        WHEREFORE, the Committee respectfully requests that the Court overrule the

Objection, grant the relief requested in the Jefferies Application and grant the Committee such

other and further relief as is just, proper and equitable.

Dated: May 29, 2018
                                         Respectfully Submitted,
                                         AKIN GUMP STRAUSS HAUER & FELD LLP

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                                         Counsel to the Official Committee of Unsecured Creditors
                                         of iHeartMedia, Inc., et al.
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                                 CERTIFICATE OF SERVICE

        I certify that on May 29, 2018, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas and by U.S. Mail to the U.S. Trustee.

                                            /s/ Marty L. Brimmage, Jr.
                                            Marty L. Brimmage, Jr.
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                            Exhibit A
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      Fee Structures of Committee Investment Bankers
      ($ Thousands)

                                                          Petition        Investment         Pre-Petition             % Monthly                  Monthly                   Transaction Fee                  12-Month Banker Fee
      Company                                   Note       Date             Banker           Funded Debt              Crediting                  Retainers             Amount           % of Debt         Amount         % of Debt

                                                                                                             50% after 6 months, Caped at
      Toys "R" Us                                (1)     09/18/17     Moelis             $       5,265,000                                   $               200   $         6,000            0.11%   $        7,800           0.15%
                                                                                                                         $1M


      Seadrill                                           09/12/17     Perella                    8,021,000        50% after 6 months                         175             5,000            0.06%            6,575           0.08%


                                                                                                             25% after 9 months, 50% after
      Avaya                                              01/19/17     Jefferies                  6,023,000                                                   175             4,250            0.07%            6,219           0.10%
                                                                                                                       12 months


      SunEdison                                  (2)     04/21/16     Lazard                     8,736,000        50% after 6 months                         250             9,500            0.11%           11,750           0.13%


      Peabody Energy                             (3)     04/13/16     Jefferies                  8,800,000       50% after 12 months                         200             8,000            0.09%           10,400           0.12%


      Arch Coal                                          01/11/16     Jefferies                  5,125,000        50% after 6 months                         175             3,000            0.06%            4,575           0.09%


      Caesars Entertainment Operating Co.        (4)     01/15/15     Jefferies                 18,372,700       50% after 12 months                         225             6,500            0.04%           10,200           0.06%


      Energy Future Holdings - TCEH Committee   (5,6)    04/29/14     Lazard                    32,138,000                NA                                 250            13,000            0.04%           16,000           0.05%


                                                                                                             50% after $1,500 in monthlies
      Energy Future Holdings - EFH Committee     (7)     04/29/14     Guggenheim                 9,638,000                                                   250             8,000            0.08%           10,250           0.11%
                                                                                                                   paid (~6 months)

                                                                      Maximum            $     32,138,000                                    $           250       $       13,000             0.11% $        16,000            0.15%
                                                                      Mean                     11,346,522                                                211                7,028             0.07%           9,308            0.10%
                                                                      Median                    8,736,000                                                200                6,500             0.07%          10,200            0.10%
                                                                      Minimum                   5,125,000                                                175                3,000             0.04%           4,575            0.05%

      iHeart (Proposed)                          (8)     03/15/18     Jefferies          $     16,190,000    50% after 12 months             $           175       $        5,750             0.04% $          7,850           0.05%

      Source: Bankruptcy court filings / terms summarized - for detail refer to relevant engagement letters and retention orders
(1) The Transaction fee of $6M is only payable in the event of a confirmed chapter 11 plan, otherwise the fee is reduced to $3M.
(2) Transaction fee includes $2 million contingent on Committee support.
(3) Transaction fee includes $3 million contingent on Committee support.
(4) In a supplemental application [Docket No. 6227], Jefferies was granted a New Capital fee equal to $1M.
(5) Transaction fee includes $3 million contingent on Committee support.
(6) Commencing with February 2015, 50% of any additional monthly retainer payments shall be credited against any Contingent fee earned. By agreement with the Fee Committee,
    Lazard agreed to discontinue its monthly retainer effective November 1, 2015.
(7) Pursuant to agreement reached with the Fee Committee, Guggenheim Securities voluntarily reduced its monthly retainer beginning on January 1, 2017 through the Effective Date to $125,000 and
    agreed to reduce the Transaction fee by $1,000,000 to $8,000,000. There was no crediting on the monthly retainers Guggenheim received after December 31, 2016.
(8) Transaction fee includes $2.875 million contingent on Committee support.
